Case 8:16-ap-01114-ES       Doc 28 Filed 10/20/16 Entered 10/20/16 18:23:54         Desc
                             Main Document    Page 1 of 5

  1   Robert P. Goe – State Bar No. 137019
      Charity J. Miller – State Bar No. 286481
  2   GOE & FORSYTHE, LLP
      18101 Von Karman Avenue, Suite 1200
  3   Irvine, CA 92612
      Telephone: (949) 798-2460
  4   Facsimile: (949) 955-9437
      rgoe@goeforlaw.com
  5   cmiller@goeforlaw.com
  6   Attorneys for Defendant, Kent W. Easter
  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
      In re                                        Case No.: 8:16-bk-10223-ES
 12
      KENT W. EASTER,                              Chapter 7 Proceeding
 13
                           Debtor                  Adv. Case No. 8:16-ap-01114-ES
 14
                                                   DEFENDANT’S EVIDENTIARY
 15                                                OBJECTIONS TO DECLARATION OF
                                                   ROBERT MARCEREAU IN SUPPORT OF
 16   KELLI C. PETERS, BILL PETERS, and            PLAINTIFFS’ MOTION FOR SUMMARY
      SYDNIE PETERS,                               JUDGMENT
 17
                            Plaintiffs,
 18
                           v.
 19
                                                   Hearing:
      KENT W. EASTER,                              Date:        November 10, 2016
 20
                                                   Time:        10:30 a.m.
                          Defendant.               Ctrm:        5A
 21

 22

 23

 24

 25

 26

 27

 28

          DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF ROBERT MARCEREAU IN
                    SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES        Doc 28 Filed 10/20/16 Entered 10/20/16 18:23:54                     Desc
                              Main Document    Page 2 of 5

  1          Defendant Kent Easter, an individual (“Easter”, “Debtor” and/or “Defendant”) hereby
  2   submits this Objection (“Objection”) to the Declaration of Robert Marcereau submitted in
  3
      support of Plaintiffs’ Motion for Summary Judgment (“Motion”).
  4

  5    EVIDENCE OBJECTED TO                               GROUNDS FOR OBJECTION

  6

  7
       Page, 1, ¶4: “Plaintiffs proved in the State           Best Evidence Rule – FRE 1002 (the
  8                                                           Parties’ stipulation and the trial transcript
       Court Action that Kent Easter and his wife             speak for themselves).
  9
       attempted to frame Kelli Peters for
 10
       possession of illegal drugs, which resulted
 11
       in her false imprisonment. Plaintiffs also
 12
       provided that Kent Easter and his wife
 13
       intentionally inflicted emotional distress
 14
       upon them. Indeed, Kent Easter admitted to
 15
       these facts in my presence.”
 16

 17

 18    Page 2, ¶7: “Prior to the verdict in the State         Best Evidence Rule – FRE 1002

 19    Court Action, Kent Easter was found guilty             Lack of Foundation – FRE 602

 20    of felony false imprisonment (Penal Code               Personal Knowledge – FRE 602

 21    236/237a) in Orange County Superior

 22    Court, Case No. 12ZF0153 on September

 23    10, 2014. The underlying facts of the

 24    criminal action were the same as the State

 25    Court Action, i.e., that Kent Easter and his

 26    wife planted illegal drugs in Kelli Peters’

 27    car and made a false report to police about

 28                                                     -1-

         DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF ROBERT MARCEREAU IN
                   SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES       Doc 28 Filed 10/20/16 Entered 10/20/16 18:23:54                        Desc
                             Main Document    Page 3 of 5

  1   it, which resulted in Kelli Peters’ detention
  2   and investigation by police. Kent Easter
  3   actively participated in his criminal court
  4   case. He retained a criminal defense lawyer
  5   to represent him and attended every day of
  6   the trial. Mr. Easter admitted these facts in
  7   my presence.”
  8

  9
      Page 2, ¶ 8: “The underlying facts of the                 Best Evidence Rule – FRE 1002 (the
 10                                                             Parties’ stipulation and the trial transcript
      case are as follows: On or about February                 speak for themselves).
 11
      16, 2011, Kent Easter and his wife Jill
 12
      Easter, planted illegal drugs and drug
 13
      paraphernalia in Kelli Peters’ car, including
 14
      bags of Vicodin, Percocet and Marijuana,
 15
      and a used Marijuana pipe. Kent Easter
 16
      then made a false report to Irvine Police
 17
      stating that he witnessed Kelli Peters
 18
      driving erratically and hiding drugs in her
 19
      car. Kent Easter and his wife admitted
 20
      these facts in a signed stipulation, and also
 21
      admitted these facts in my presence during
 22
      testimony at trial. A true and correct copy
 23
      of the stipulation signed by Kent Easter and
 24
      Jill Easter is attached hereto as Exhibit 3.”
 25

 26

 27   Page 2, ¶9: On June 16, 2012, the Irvine                  Lack of Foundation – FRE 602

 28                                                   -- 2 --

        DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF ROBERT MARCEREAU IN
                  SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES       Doc 28 Filed 10/20/16 Entered 10/20/16 18:23:54                      Desc
                             Main Document    Page 4 of 5

  1    Police arrested Kent Easter and Jill Easter               Personal Knowledge – FRE 602
  2    for allegedly planting illegal drugs and drug
  3    paraphernalia in Kelli Peters’ car and
  4    making a false report to police. Mr. Easter
  5    admitted these facts in my presence.”
  6

  7
       PAGES 19-40, (Entire) EXHIBIT 4:                          Inadmissible Hearsay – FRE 801
  8
                                                                 FRE 403 – Undue Prejudice for
  9                                                              offering incomplete records.
 10    PAGES 41-64, (Entire) EXHIBIT 5:                          Inadmissible Hearsay – FRE 801
 11
                                                                 FRE 403 – Undue Prejudice for
 12                                                              offering incomplete records.

 13

 14

 15
                                                                 Inadmissible Hearsay – FRE 801
       PAGES 65-69, (Entire) EXHIBIT 6:
 16
                                                                 FRE 403 – Undue Prejudice for
 17                                                              offering incomplete records.

 18
      Dated: October 20, 2016                        Respectfully submitted,
 19
                                                     GOE & FORSYTHE, LLP
 20
                                                     /s/ Robert P. Goe
 21                                                  Robert P. Goe, Attorneys for Kent W. Easter
 22

 23

 24

 25

 26

 27

 28                                                    -- 3 --

         DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF ROBERT MARCEREAU IN
                   SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
Case 8:16-ap-01114-ES          Doc 28 Filed 10/20/16 Entered 10/20/16 18:23:54                     Desc
                                Main Document    Page 5 of 5

  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  4   A true and correct copy of the foregoing document entitled (specify): DEFENDANT’S EVIDENTIARY
      OBJECTIONS will be served or was served (a) on the judge in chambers in the form and manner
  5   required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) October 20, 2016, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  8
             Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
  9           wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
             Robert H Marcereau , nlipowski@mncalaw.com
 10          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11                                                     Service information continued on attached page
 12   2. SERVED BY UNITED STATES MAIL: On (date) October 20, 2016, I served the following persons
      and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
 13   true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
      and addressed as follows: Listing the judge here constitutes a declaration that mailing to the judge will be
 14   completed no later than 24 hours after the document is filed.

 15   Kent W Easter
      153 Baywood Dr
 16   Newport Beach, CA 92660

 17                                                     Service information continued on attached page

 18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL: (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
 19   LBR, on (date) October 20, 2016, I served the following persons and/or entities by personal delivery,
      overnight mail service, or (for those who consented in writing to such service method), by facsimile
 20   transmission and/or email as follows: Listing the judge here constitutes a declaration that personal
      delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
      filed.
 21
             The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 22
                                                        Service information continued on attached page
 23
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 24   correct.

 25    October 20, 2016           Susan C. Stein                            /s/Susan C. Stein
       Date                     Printed Name                                Signature
 26

 27

 28                                                     -- 4 --

          DEFENDANT’S EVIDENTIARY OBJECTIONS TO DECLARATION OF ROBERT MARCEREAU IN
                    SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
